       Case 1:19-cv-02978-ALC-KHP Document 112 Filed 03/24/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                        03/24/2022
-----------------------------------------------------------------X
MARISSA HOECHSTETTER, et al.,                                          ORDER SCHEDULING CASE
                                                                      MANAGEMENT CONFERENCES
                                                Plaintiffs,
                                                                         19-CV-2978 (ALC) (KHP)
                             -against-

COLUMBIA UNIVERSITY, et al.,

                                                 Defendants.
------------------------------------------------------------------X

KATHARINE H. PARKER, United States Magistrate Judge:

        A series of Case Management conferences in this matter are hereby scheduled for the

following dates in Courtroom 17-D, United States Courthouse, 500 Pearl Street, New York, New

York. The parties shall file a joint status letter that includes agenda items three business days

in advance of each conference. The letters shall be no more than three pages in length.

         Wednesday, April 20, 2022 at 2:00 p.m.

         Wednesday, May 25, 2022 at 2:45 p.m.

         Wednesday, June 29, 2022 at 2:00 p.m.

         Tuesday, July 19, 2022 at 10:00 a.m.

         Tuesday, August 23, 2022 at 10:00 a.m.

         Tuesday, September 13, 2022 at 10:00 a.m.

         Tuesday, October 25, 2022 at 10:00 a.m.

         Tuesday, November 15, 2022 at 10:00 a.m.

         Thursday, December 15, 2022 at 10:00 a.m.


                                                              1
    Case 1:19-cv-02978-ALC-KHP Document 112 Filed 03/24/22 Page 2 of 2




     SO ORDERED.

DATED:    New York, New York
          March 24, 2022

                                        ______________________________
                                        KATHARINE H. PARKER
                                        United States Magistrate Judge




                                    2
